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NOT FOR PUBLICATION

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

______________________________
                                      :
DOROTHEA J. CRISMAN,                  :
                                      :
               Plaintiff,             :                      Hon. Dennis M. Cavanaugh
                                      :
               v.                     :                              OPINION

JO ANN B. BARNHART,           :
COMMISSIONER OF SOCIAL        :                              Civil Action No.: 05-1979
SECURITY,                     :
                              :
            Defendant.        :
______________________________:

DENNIS M. CAVANAUGH, U.S.D.J.

       This matter comes before the Court upon Plaintiff Dorthea J. Crisman’s (“Plaintiff”)

appeal from the Commissioner of Social Security’s (“Commissioner”) final decision denying

Plaintiff’s request for Disability Insurance Benefits (“DIB”) under the Social Security Act (“the

Act”). The matter is decided without oral argument pursuant to Rule 78 of the Federal Rules of

Civil Procedure. After reviewing all of the submissions by both parties and for the reasons stated

below, the Court finds that the Commissioner’s decision is based on a complete analysis

supported by substantial evidence. Accordingly, the Commissioner’s decision is affirmed.

                                          I. BACKGROUND

                                     A. Procedural History

       Plaintiff applied for DIB, alleging disability as of April 27, 1996. (Tr. at 22). This

application was denied. Plaintiff filed a request for a hearing, which was held in May 2002. (Tr.

at 370). In August 2002, Administrative Law Judge (ALJ) Christopher P. Lee, ruled Plaintiff
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was not disabled. (Tr. at 370). The Appeals Council granted Plaintiff’s request for review on

March 14, 2003. (Tr. at 370). After hearing testimony from a vocational expert, the ALJ ruled

Plaintiff was not disabled within the meaning of the Act. Plaintiff appealed that decision to this

Court on April 13, 2005.

                                              B. Facts

                                      1. Plaintiff’s Testimony

       According to the transcript, Plaintiff attended school until ninth grade and she is able to

read and write. (Tr. at 373-74). Plaintiff never received any vocational training, but worked as a

clerk in a post office for six months. (Tr. at 374). Plaintiff also worked in a retail warehouse in a

supervisory capacity until 1996. (Tr. at 374). As a warehouse supervisor, Plaintiff oversaw the

work of ten women-packers. (Tr. at 376). Plaintiff’s job duties also included picking and

packing orders, which involved lifting between fifty and seventy pounds with the help of others.

(Tr. at 375). Plaintiff worked in this capacity for ten years.

       Plaintiff is taking several medications, which she states make her sleepy, dizzy, nauseous,

and only dull her constant pain. (Tr. at 377). Plaintiff states her asthma is under control with

medication, and that she is currently seeing Dr. Vitale for general treatment. (Tr. at 377). Dr.

Vitale suggested that she use a cane, but Plaintiff is currently unable to afford one. (Tr. at 377-

78).

       Plaintiff states that she is able to sit for approximately twenty minutes, stand for ten

minutes, and walk about half a block. (Tr. at 378). Plaintiff also asserts that she suffers from

constant and severe pain in her back and legs, for which she takes medication. (Tr. at 379).

Plaintiff alleges that she is unable to carry medium to heavy objects and has difficulty walking up


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or down stairs. (Tr. at 379). Plaintiff also stated that she has recently experienced numbness in

her left hand and foot. (Tr. at 380). Plaintiff claims she has arthritis in her hips, which prevents

her from sleeping at night. (Tr. at 380). She also stated that her appetite is diminished. Plaintiff

is able to dress and bath herself without help.

       Plaintiff believes she suffers from depression. (Tr. at 382-86). She recently saw a

neurologist, Dr. Jeffrey, who conducted an MRI and has scheduled Plaintiff for a bone scan,

recommending physical therapy. (Tr. at 386). Dr. Vitale has suggested that Plaintiff see an

orthopedic doctor. (Tr. at 386).

                                2. Vocational Expert’s Testimony

       Donald Slive, a vocational expert (“VE”), described Plaintiff as a fifty-year old woman

with an eighth grade education, who worked as a stock clerk. The VE stated that this type of

work is semi-skilled and requires a heavy physical demand. (Tr. at 387). The VE also stated that

Plaintiff’s work as a mail clerk is an unskilled position that requires light physical demand. The

VE further described her work as packing-supervisor as having a light physical demand and

being a skilled position. (Tr. at 378). The VE stated that the only transferable skill Plaintiff has

is supervision as that was her only skilled requirement while working. (Tr. at 378-88).

       The ALJ asked the VE to look at hearing exhibit, “7F,” a State agency medical

assessment which reflected a physical functional capacity for medium work under the

Commissioner’s regulations, and to consider Plaintiff’s current condition when answering which

of her past relevant jobs she could return to. The VE stated that she could return to all of them.

(Tr. at 389). The ALJ then asked the VE to look at hearing exhibit “12F,” the assessment of Dr.

Vitale indicating an inability to do even sedentary work, and answer the same question. Here, the


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VE responded that Plaintiff could not perform any of her past relevant work, stating that the

restriction of being able to lift less than ten pounds eliminated any work in both the national and

local economy. (Tr. at 389-90). In looking over hearing exhibits “8F” and “9F” the VE stated

that with non-exertional limitations Plaintiff could return to all relevant work. (Tr. at 390). The

VE further stated that if a person has to sleep four hours during the workday, as Plaintiff alleges,

than she cannot work because a workday usually requires a minimum of eight hours at the work-

site. (Tr. 390-91).

                                  II. STANDARD OF REVIEW

         A review of the Commissioner’s final decision is made pursuant to 42 U.S.C. § 405(g),

which provides:

                “Any individual, after any final decision of the Commissioner of Social
                Security made after a hearing to which he was a party, irrespective of the
                amount in controversy, may obtain a review of such decision by a civil
                action ...”

42 U.S.C. § 405(g)(West Supp. 2000). Section 405(g) permits a District Court to review

transcripts and records upon which a determination of the Commissioner is based. Morales v.

Apfel, 225 F.3d 310, 316 (3d Cir. 2000). If supported by substantial evidence the factual

findings of disability made by the Commissioner must be accepted as conclusive. Plummer, 186

F.3d 422, 427 (3d Cir. 1999); Knepp v. Apfel, 204 F.3d 78, 83 (3d Cir. 2000); Ventura v.

Shalala, 55 F.3d 900, 901 (3d Cir. 1995); Williams v. Sullivan, 970 F.2d 1178, 1182 (3d Cir.

1992).

         Substantial evidence has been quantified as “more than a mere scintilla.” Burnett v.

Commissioner, 220 F.3d 112, 118 (3d Cir. 2000); Ventura, 55 F.3d at 901 (quoting Richardson



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v. Perales, 402 U.S. 389, 401 (1971)). It “does not mean a large or considerable amount of

evidence, but rather such relevant evidence as a reasonable mind might accept to support a

conclusion." Morales, 225 F.3d at 316 (3d Cir. 2000); Hartranft v. Apfel, 181 F.3d 358, 360 (3d

Cir. 1999) (quoting Pierce v. Underwood, 487 U.S. 552, 565 (1988)).

       The substantial evidence standard allows a District Court to review an ALJ decision, yet

avoid interference with the Commissioner’s administrative responsibilities. Stewart v. Secretary

of Health, Educ. and Welfare, 714 F.2d 287, 290 (3d Cir. 1983); Claussen v. Chater, 950 F.Supp.

1287, 1292 (D.N.J. 1996). The standard is “deferential and includes deference to inferences

drawn from the facts if they, in turn, are supported by substantial evidence.” Schaudeck v.

Commissioner of Social Sec. Admin., 181 F.3d 429, 431 (3d Cir. 1999). The record must be

reviewed as a whole to determine whether substantial evidence is present to support the ALJ’s

decision. Id.

       Reasonable minds can reach different conclusions following review of the evidentiary

record upon which the decision of the Commissioner is based. Nevertheless, in such cases, the

function of a District Court is to determine whether the record, as a whole, contains substantial

evidence to support the findings of the Commissioner. Adorno v. Shalala, 40 F.3d 43, 46 (3d

Cir. 1994) (quoting Richardson, 402 U.S. at 401 (1971)); Schaudeck, 181 F.3d at 431. A court

may not displace the choice of an administrative body "between two fairly conflicting views,

even though the court would justifiably have made a different choice had the matter been before

it de novo." N.L.R.B. v. Greensburg Coca-Cola Bottling Co., 40 F.3d 669, 672-73 (3d. Cir.

1994) (quoting Universal Camera Corp. v. N.L.R.B., 340 U.S. 474, 488 (1951)); see also

Hartranft, 181 F.3d at 360. Nonetheless, an ALJ is expected to do more than simply state factual


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conclusions. Stewart, 714 F.2d at 290; Claussen, 950 F.Supp at 1292. Rather, an ALJ must

make specific findings of fact to support his or her ultimate findings. Sykes v. Apfel, 228 F.3d

259, 269 (3d Cir. 2000).

        An ALJ must consider all medical evidence in the record and provide adequate

explanations for disregarding or rejecting evidence, especially when the testimony of a physician

treating a claimant is rejected. Morales, 225 F.3d at 320; Plummer, 186 F.3d at 429; Wier on

Behalf of Wier v. Heckler, 734 F.2d 955, 961 (3d Cir. 1984); Cotter v. Harris, 642 F.2d 700, 705

(3d Cir. 1981). An ALJ must also give serious consideration to the subjective complaints of pain

of the claimant, even when those assertions are not fully confirmed by objective medical

evidence. Mason v. Shalala, 994 F.2d 1058, 1067-68 (3d Cir. 1993); Welch v. Heckler, 808 F.2d

264, 270 (3d Cir. 1986). Where a claim is supported by competent evidence, an ALJ must

specifically weigh that evidence. Schaudeck, 181 F.3d 429, 435 (citing Dobrowolsky v.

Califano, 606 F.2d 403, 407 (3d Cir. 1979)).

        Title II of the Act provides for the payment of benefits to persons suffering from

disabilities who have made contributions to the disability insurance program. 42 U.S.C. §

423(a)(1)(D). Title II provides for the payment of benefits when a claimant establishes his or her

inability:

              “to engage in any substantial gainful activity by reason of any
              medically determinable physical or mental impairment which can
              be expected to result in death or which has lasted or can be
              expected to last for a continuous period of not less than 12
              months.”
42 U.S.C. §§ 423(d)(2)(A); 1382c(a)(3)(B); see also Schaudeck, 181 F.3d at 431. The Act

further provides that an individual,



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               “shall be determined to be under a disability only if his [or her] physical or mental
               impairment or impairments are of such severity that he [or she] is not only unable
               to do his [or her] previous work but cannot, considering his [or her] age,
               education and work experience, engage in any other kind of substantial gainful
               work which exists in the national economy.”

42 U.S.C. §§ 423(d)(2)(A), 1382c(a)(3)(B); see also Sykes, 228 F.3d 259, 262.

       In accordance with the authority granted under 42 U.S.C. § 405(a), as incorporated by

reference in 42 U.S.C. § 1383(d)(1), the Commissioner has promulgated regulations (the

"Regulations") to give effect to and further define the provisions of the Act. 20 C.F.R. §§

404.1520, 416.920. The Regulations provide for a five-step sequential evaluation of the claim of

an individual for DIB and SSI. Morales, 225 F.3d at 316; Sullivan, 493 U.S. at 525; Knepp, 204

F.3d at 82; Schaudeck, 181 F.3d at 431-432.

       In step one, the Commissioner must determine whether the claimant is currently engaging

in substantial gainful activity. 20 C.F.R.§§ 404.1520(a), 416.920(a).

               “Substantial gainful activity is work that is both substantial and
               gainful .... Substantial work activity is activity that involves doing
               significant physical or mental activities. [An applicant’s] work
               may be substantial even if it is done on a part-time basis or if [the
               applicant] do[es] less, get[s] paid less, or ha[s] less responsibility
               than when [the applicant] worked before .... Gainful work activity
               is work activity that [the applicant] do[es] for pay or profit. Work
               activity is gainful if it is the kind of work usually done for pay or
               profit, whether or not a profit is realized.”

20 C.F.R. §§ 407.1572, 416.972. If the Commissioner determines a claimant is engaged in

substantial gainful activity, the claim of disability will be denied, regardless of medical condition.

Bowen v. Yuckert, 482 U.S. 137, 140 (1987) (citing 20 C.F.R. § 404.1520(b)).

       If the claimant is not engaged in substantial gainful activity, the analysis of the claim

proceeds to step two. Step two, commonly known as the "severity regulation," involves a


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minimum threshold determination of whether the claimant is suffering from a severe impairment.

20 C.F.R. §§ 404.1520(c), 416.920(c). An impairment is considered severe if it is “of a

magnitude sufficient to limit significantly the individual’s ‘physical or mental ability to do basic

work activities.’” Santise v. Schweiker, 676 F.2d 925, 927 (3d Cir. 1982) (quoting 20 C.F.R. §

404.1520(c)).

       Evidence of a “physical or mental impairment” must be “demonstrable by medically

acceptable clinical and laboratory diagnostic techniques.” 42 U.S.C. § 423(d)(3). “An individual

shall not be considered to be under a disability unless he [or she] furnishes such medical and

other evidence of the existence thereof as the Commissioner may require.” 42 U.S.C. §

423(d)(5)(A). The Commissioner, however, cannot make “speculative inferences from medical

opinions” and a medical opinion may only be rejected on the basis of “contradictory medical

evidence.” Plummer, 186 F.3d at 428. When a medically determinable impairment exists that

can reasonably be expected to produce pain, the intensity and persistence of symptoms must also

be evaluated in order to determine what impact, if any, they have on the ability of the claimant to

work. Sweeney v. Commissioner of Social Security, No. 99-6048, slip op. at 17 (3d Cir. June

20, 2000) (citing 20 C.F.R. § 416.929(c)(1)).

                “If a claimant’s symptoms suggest a greater restriction of function
                than can be demonstrated by objective evidence alone,
                consideration will also be given to such factors as the individual’s
                daily activities; the location, duration, and intensity of the
                individual’s pain; precipitating and aggravating factors; the type,
                and side effects of medication; treatment received for the relief of
                pain; and any other measures used for pain relief.”

Id. (citing 20 C.F.R. § 416.929(c)(3); Social Security Ruling 96-7p)).

       The ability to do basic work activities is defined as “the abilities and aptitudes necessary


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to do most jobs.” 20 C.F.R. § 404.1521(b). Such abilities and aptitudes include “[p]hysical

functions such as walking, standing, sitting, lifting, pushing, pulling, reaching, carrying, or

handling;” “[c]apacities for seeing, hearing, and speaking;” “[u]nderstanding, carrying out, and

remembering simple instructions;” “[u]se of judgment;” “[r]esponding appropriately to

supervision, co-workers, and usual work situations;” and “dealing with changes in a routine work

setting.” Yuckert, 482 U.S. at 141 (quoting 20 C.F.R. § 404.1521(b)).

       An ALJ need only consider medical evidence in step two, without regard to vocational

factors such as the age, education, or work experience of the claimant. Id. (citing 20 C.F.R. §§

404.1520(c), 416.920(c)). In step two of the analysis, the claimant must make the threshold

showing that his or her impairments are sufficiently severe to satisfy this standard. Yuckert, 482

U.S. at 146 n.5. If a claimant fails to make this showing, he or she is ineligible for DIB or SSI

benefits. Id. at 148; Santise, 676 F.2d at 927.

       If the claimant is not engaged in substantial gainful activity and has a severe impairment,

the evaluation proceeds to step three. Step three requires a determination of “whether the

impairment is equivalent to one of a number of listed impairments [(the "Listed Impairments")]

that the Commissioner acknowledges are so severe as to preclude substantial gainful activity.”

Yuckert, 482 U.S. at 141. “If the impairment meets or equals [a] [L]isted [I]mpairment [s], the

claimant is conclusively presumed to be disabled.” Id.; see also 20 C.F.R. §§ 404.1520(d),

416.920(d); Schaudeck, 181 F.3d at 432.

       If a claimant does not suffer from a Listed Impairment or its equivalent, the analysis

proceeds to steps four and five. Under these steps, “the Commissioner must determine whether

the claimant retains the ability to perform either his [or her] former work or some less demanding


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employment.” Zebley, 493 U.S. at 535 (quoting Heckler v. Campbell, 461 U.S. 458, 469

(1983)); see also Adorno, 40 F.3d. at 46; Williams, 970 F.2d at 1187.

       Step four requires an ALJ to consider whether the claimant retains the residual functional

capacity to perform work he or she performed in the past. 20 C.F.R. §§ 404.1520(e), 416.920(e);

Schaudeck, 181 F.3d 431. Residual functional capacity is defined as what the claimant “can still

do despite [his or her] limitations.” 20 C.F.R. §§ 404.1545(a), 416.945(a). An ALJ must

evaluate the physical and mental requirements of past work experience of the claimant in

determining the residual functional capacity. Knepp, 204 F.3d at 82; Velazquez v. Heckler, 802

F.2d 680, 682 (3d Cir. 1986); 20 C.F.R. §§ 404.1520(e), 416.920(e).

       “At step four, vocational factors [such as age, education and work experience] are not

considered in determining whether or not a claimant retains the residual functional capacity to

perform past relevant work.” Williams, 970 F.2d at 1887; see also 20 C.F.R. §§ 404.1560(b),

416.960(b). If the claimant is able to meet the demands of his or her past work, then he or she is

not disabled within the meaning of the Act. Yuckert, 482 U.S. at 141; Schaudeck, 181 F.3d at

432; Adorno, 40 F.3d at 46. At step four, as with the previous steps, the claimant bears the

burden of proof. Yuckert, 482 U.S. at 146 n.5; Adorno, 40 F.3d. at 46.

       If a claimant demonstrates an inability to resume his or her former occupation, the

evaluation moves to step five. At this final stage, the burden of proof shifts to the

Commissioner, who must demonstrate the claimant is capable of performing other available

work in order to deny a claim of disability. Morales, 225 F.3d at 316; Yuckert, 482 U.S. at 146

n.5; Adorno, 40 F.3d at 46. Furthermore, a determination of disability by an ALJ at step five

must be based upon the age, education, work experience, and residual functional capacity of the


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claimant. 20 C.F.R. § 404.1520(f), 416.920(f); Schaudeck, 181 F.3d at432. The ALJ must also

analyze the cumulative effect of all of the impairments of the claimant. 20 C.F.R. §§ 404.1545,

416.945.

                                           B. ANALYSIS

        Plaintiff makes three arguments in support of her position that the Commissioner’s

decision is not supported by substantial evidence. First, Plaintiff contends that the ALJ erred in

concluding that Plaintiff’s adjustment disorder did not meet the level of severity required in the

Listings. Second, Plaintiff argues that the ALJ failed to give sufficient weight to her testimony in

determining her residual functional capacity. Third, Plaintiff asserts that the ALJ did not give the

proper weight to the VE’s testimony. The Court will address each argument in turn.

        Plaintiff argues that the ALJ improperly concluded that Plaintiff’s adjustment disorder did

not meet the level of severity required in the Listings. The Court disagrees. Pursuant to the five-

step sequential evaluation, the ALJ determined from Plaintiff’s testimony and medical records

that Plaintiff has severe impairments consisting of the left sciatic syndrom, osteoporosis, and an

adjustment disorder. (Tr. at 18-22). However, the ALJ concluded that none of Plaintiff’s

impairments satisfied the criteria of the Listings. (Tr. at 18-22). In making this finding, the ALJ

specifically referred to evidence demonstrating Plaintiff’s failure to satisfy the laboratory

diagnostic criteria of the spinal disorder Listings and noted that the medical evidence showed

Plaintiff had no deficits in motor, sensory or reflex functions. (Tr. at 155-160). Consultative

examinations also failed to show evidence of nerve compression, muscle spasm, or atrophy, and

as such, the ALJ provided reasonable rationale for his finding that Plaintiff did not satisfy the

Listing criteria for spinal disorders. (Tr. at 212).


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       The ALJ also properly concluded that Plaintiff’s adjustment disorder did not satisfy the

criteria of that Listing section, explaining that the evidence failed to demonstrate Listing-level

limitations in any of the following: activities of daily living, social functioning, concentration,

persistence or pace, or episodes of decompensation of extended duration. (Tr. at 19; Def.’s Br. at

6). Further, in coming to this conclusion the ALJ properly relied on the State agency’s medical

consultant pursuant to 20 C.F.R. §§ 404.1512(b)(6), 416.912(b)(6). Plaintiff, however, argues

that there is no evidence supporting the ALJ’s finding that she can perform at the medium-

exertional level. (Pl. Br. at 1). This Court disagrees with Plaintiff, finding that the ALJ relied on

the assessments of the State agency medical consultants, who stated Plaintiff could perform at the

medium-exertional level. (Tr. at 216). The ALJ also considered Plaintiff’s treating doctor’s

negative findings as evidence that Plaintiff was indeed able to work. (Def. Br. at 7). Plaintiff’s

treating physician stated that there was no evidence of a disabling orthopedic condition or any

medical evidence to confirm the presence of any abnormality that would prevent Plaintiff from

returning to work. (Tr. at 167, 170). In sum, this Court finds that the ALJ properly concluded

that Plaintiff’s adjustment disorder did not meet the level of severity required in the Listings, and

Plaintiff is able to perform work at the medium-exertional level.

       Plaintiff also argues that the ALJ failed to give sufficient weight to her testimony in

determining her residual functional capacity. In assessing Plaintiff’s residual functional capacity,

the ALJ considered her testimony, but concluded that it was not completely credible. It is clearly

within the ALJ’s discretion to determine whether or not a plaintiff’s testimony is credible. La

Corte v. Bowen, 678 F. Supp. 80, 83 (D.N.J. 1988). In evaluating Plaintiff’s complaints, the ALJ

is entitled to draw his own conclusions about their veracity. Hartranft v. Apfel, 181 F.3d 358,


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362 (3d. Cir. 1999). Further, Plaintiff bears the burden of demonstrating that her complaints are

supported by medical evidence, and here, she clearly has not met that burden. Alexander v.

Shalala, 927 F. Supp. 785, 795 (D.N.J. 1995).

       Plaintiff further argues that the ALJ did not give the proper weight to the VE’s testimony.

(Pl. Br. at 1). The transcript of the hearing reveals that the ALJ questioned the VE in order to

determine whether an individual with Plaintiff’s residual functional capacity could perform her

past relevant work. (Tr. at 374). The ALJ also presented the VE with several hypothetical

situations. The VE first testified that a person with the same residual functional capacity as the

Plaintiff would be able to perform at a medium-leveled physical functional capacity, and would

therefore be able to perform all of Plaintiff’s past relevant work. (Tr. at 389). Then, in analyzing

Plaintiff’s physician’s assessment, the VE concluded that a person with such limitations would

not be able to perform any of Plaintiff’s past relevant work. (Tr. at 389-90). The ALJ presented

the VE with a third hypothetical: could an individual with the medium physical functional

capacity assessment and mild limitations in daily living activities could perform Plaintiff’s past

work? (Tr. at 390). The VE responded that such a person could perform all of Plaintiff’s past

relevant work. (Tr. at 390). Plaintiff’s counsel added to the ALJ’s hypothetical by listing

Plaintiff’s complaints of dizziness, nausea, and the need to sleep for at least four hours during the

day. (Tr. at 390). In addressing this hypothetical, the VE stated that such an individual would

not be able to perform all of Plaintiff’s past work. (Tr. at 391).

       The VE’s determination with respect to the first and third hypothetical is consistent with

the ALJ’s conclusion that Plaintiff has a residual functional capacity for medium work and

therefore can perform her past relevant work. The ALJ clearly explained that an individual


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retains the capacity to perform her past relevant work when she can perform the functional

demands and duties of the job either as she actually performed them or as are generally required

by employers through the national economy. (Def. Br. at 14-15). The VE described Plaintiff’s

past relevant jobs as “light work” and as such can be performed by Plaintiff, who was assessed to

have a capacity for medium work.

       The Court finds that the ALJ properly relied on the VE’s assessment. The ALJ having

concluded that Plaintiff’s testimony was not credible properly chose to ignore VE’s conclusion in

answer to Plaintiff’s counsel’s hypothetical, and instead chose to rely on the VE’s answer to his

first and third hypothetical, having already appropriately concluded that Plaintiff could perform

medium work.

                                      III. CONCLUSION

       For the foregoing reasons, the Court concludes that substantial evidence supports the

ALJ’s factual findings and thus affirms the Commissioner’s final decision denying Plaintiff’s

application for disability benefits. Therefore, the determination of the Commissioner of Social

Security is affirmed.



Date: August 14, 2006
Orig: Clerk’s Office
cc:   All parties
      File

                                                     S/ Dennis M. Cavanaugh
                                                     DENNIS M. CAVANAUGH, U.S.D.J.




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